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 4
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 5
 6                              UNITED STATES DISTRICT COURT
 7                             EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                CR. NO. 2:07-CR-268-FCD
 9                                         )
                           Plaintiff,      )                AMENDED
10                                         )                STIPULATION AND
     vs.                                   )                ORDER TO CONTINUE
11                                         )                STATUS CONFERENCE
     ELISEO GOMEZ ,                        )
12                                         )
                           Defendant.      )
13   _____________________________________ )
14          Defendant Eliseo Gómez, through his appointed counsel, Gilbert A. Roque, and the
15   United States of America, through Assistant United States Attorney Heiko P. Coppola, agree
16   that the Status Conference set for April 13, 2009, at 10:00 a.m., be continued to May 4, 2009,
17   at 10:00 a.m., before the Honorable Frank C. Damrell, Jr.
18         In addition, it is agreed that the Court should find excludable time through May 4, 2009,
19   pursuant to Local Rule T-4, to allow defense counsel reasonable time to prepare.
20                                            Respectfully submitted,
21
22   DATED: April 8, 2009                     /s/ Gilbert A. Roque
                                              GILBERT A. ROQUE, Attorney for
23                                            ELISEO GOMEZ, Defendant
24   DATED: April 8, 2009                     /s/ Heiko P. Coppola
                                              HEIKO P. COPPOLA
25                                            Assistant United States Attorney
26         IT IS SO ORDERED.
27
     DATED: April 9, 2009
28                                            ________________________________________
                                              FRANK C. DAMRELL, JR.
                                              UNITED STATES DISTRICT JUDGE
